                                               Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 1 of 16



                                       1   Gregory B. Collins (#023158)
                                           KERCSMAR & FELTUS PLLC
                                       2
                                           7150 East Camelback Road, Suite 285
                                       3   Scottsdale, Arizona 85251
                                           Telephone: (480) 421-1001
                                       4   Facsimile: (480) 421-1002
                                       5   gbc@kflawaz.com

                                       6   Attorneys for Plaintiff
                                       7
                                       8                       IN THE UNITED STATES DISTRICT COURT

                                       9                             FOR THE DISTRICT OF ARIZONA

                                      10
                                           Ronald H. Pratte,                              Case No. 2:19-cv-00239-PHX-GMS
                                      11
                                                                                          PLAINTIFF RONALD PRATTE’S
7150 East Camelback Road, Suite 285




                                      12                        Plaintiff,                OPPOSITION TO DEFENDANT
                                                                                          BARDWELL’S MOTION FOR
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   vs.                                            SUMMARY JUDGMENT
           (480) 421-1001




                                      14   Jeffrey Bardwell and Fanny F. Bardwell,
                                      15   husband and wife,

                                      16                        Defendants.
                                      17
                                                   In Defendant Jeffrey Bardwell’s Motion for Summary Judgment (“Bardwell’s
                                      18
                                           MSJ”), he argues that Plaintiff Ronald Pratte cannot recover damages 1 for taxes Mr.
                                      19
                                           Pratte paid on the wealth transfer he made to Bardwell. In support of this argument,
                                      20
                                           Bardwell cites the tax code and regulations and questions whether the wealth transfer tax
                                      21
                                           under Form 709 was appropriate or necessary. But Bardwell fails to address Arizona law
                                      22
                                           regarding damages for breach of contract which holds, “The well-established rule in
                                      23
                                           Arizona is that the damages for breach of contract are those which arise naturally from
                                      24
                                           the breach itself or which may reasonably be supposed to have been within the
                                      25
                                           contemplation of the parties at the time they entered into the contract.” S. Arizona Sch.
                                      26
                                           For Boys, Inc. v. Chery, 119 Ariz. 277, 280, 580 P.2d 738, 741 (App. 1978).
                                      27
                                      28   1
                                             In Plaintiff Ronald Pratte’s Motion for Summary Judgment (the “Pratte MSJ”), he
                                           specifically reserved a determination on the amount of damages. (See Dkt. #55 at 1 n.1.)

                                                                                     1
                                            Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 2 of 16



                                       1          At his deposition, Bardwell himself made it crystal clear that Mr. Pratte’s payment

                                       2   of taxes due on the wealth transfer was part of the bargain. On describing his receipt of a

                                       3   check for $2 million, Bardwell recounted: “And I said it’s like winning the lottery. And

                                       4   [Mr. Pratte] says, no, it’s better than winning the lottery ‘cause I’m paying the taxes on

                                       5   it.” (Plaintiff’s Controverting Statement of Facts (“PCSOF”) at ¶ 31 (J. Bardwell Dep. at

                                       6   56:17-57:3).) William Shisler, one of Mr. Pratte’s former accountants (and a witness

                                       7   Bardwell repeatedly cites as an authority throughout his MSJ), testified that in paying the

                                       8   wealth transfer taxes, Mr. Pratte took on an obligation that otherwise would have fallen

                                       9   on Bardwell: “I’m positive that I told Mr. Pratte that he would owe less tax if he could

                                      10   pay Mr. Bardwell’s, and Mr. Carriere’s too, actually, amounts as payroll. That would

                                      11   shift the tax liability to the individuals from Mr. Pratte.” (PCSOF at ¶ 36 (W. Shisler Dep.
                                           at 104:4-14).)
7150 East Camelback Road, Suite 285




                                      12
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13          More fundamentally, Mr. Pratte’s claims rest on the fact that had Bardwell not
           (480) 421-1001




                                      14   agreed to work for Mr. Pratte for life, he would not have transferred any money and

                                      15   assets to Bardwell—and, thus, no tax would have been due. Likely recognizing this

                                      16   logical tautology, Bardwell spends many pages of his Motion (and much of the fact

                                      17   section) arguing that Mr. Pratte cannot prove the existence of a contract between the two.

                                      18   Despite a lengthy examination of the facts (including seeking inferences that Mr. Pratte’s

                                      19   memory does not allow him to sustain his claims), Bardwell conveniently omits the

                                      20   undisputed fact that he performed under the very terms of the agreement described by Mr.

                                      21   Pratte. For twelve years, Bardwell performed work for Mr. Pratte for no compensation

                                      22   even though he claims that work was “to the detriment of his health and family life.”

                                      23   (Plaintiff’s Statement of Facts (“PSOF”) at ¶ 34-35.) During that time, Barwell worked as

                                      24   many as 3,000 hours in a year and sometimes more than 80 hours in a single week.

                                      25   (PSOF at ¶ 36.)

                                      26          Bardwell does not address these facts—let alone explain them. Nor does Bardwell

                                      27   address or explain the testimony of six separate witnesses (several of whom have no

                                      28   interest whatsoever in this dispute) describing the exact agreement that Mr. Pratte


                                                                                     2
                                                Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 3 of 16



                                       1   alleges—and whose knowledge is often based on conversations with Bardwell himself

                                       2   rather than Mr. Pratte. Instead, in an attempt to cast doubt on Mr. Pratte’s ability to prove

                                       3   the contract, Bardwell blatantly misrepresents the testimony of Shisler, Mr. Pratte’s

                                       4   former accountant. Furthermore, Bardwell suggests that IRS Form 709 definitively

                                       5   proves Bardwell’s case when the evidence and law demonstrate that it simply does not.

                                       6            Indeed, Bardwell’s arguments regarding Mr. Pratte’s claims do not even raise a

                                       7   material factual issue—Shisler conceded he does not know if any contingencies existed

                                       8   related to the wealth transfer and that Form 709 was the appropriate tax form to report

                                       9   wealth transfers with contingencies attached. And that is all Bardwell presents in support

                                      10   of his defenses. Other than his own self-serving denial, he has no evidence that supports

                                      11   his side of this case. Not only should the Court deny Bardwell’s MSJ, Bardwell does not
                                           even present factual issues countering Mr. Pratte’s own summary judgment motion. The
7150 East Camelback Road, Suite 285




                                      12
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   Court should deny the Motion and grant Mr. Pratte’s motion for summary judgment
           (480) 421-1001




                                      14   against Bardwell.

                                      15   I.       FACTS

                                      16            In his Motion for Summary Judgment, Bardwell provides background information

                                      17   to the transaction. Much of this background is not material to the arguments in Bardwell’s

                                      18   MSJ. 2 Relative to the arguments in the Motion, Bardwell presents three categories of

                                      19   facts. First, Bardwell distorts the testimony regarding the meeting at the North Las Vegas

                                      20   airport where Mr. Pratte distributed the cash assets to Bardwell. Second, Bardwell

                                      21   disparages Mr. Pratte’s memory in order to argue that he cannot prove the existence of a

                                      22   contract. Of course, in this section, Bardwell disregards the testimony of a half-dozen

                                      23   witnesses who corroborate Mr. Pratte’s version of events. Third, Bardwell misrepresents

                                      24   the testimony of William Shisler, Mr. Pratte’s former accountant, in an attempt to put

                                      25   words in Mr. Pratte’s mouth. But an examination of the cited testimony reveals that

                                      26   Shisler lacked knowledge regarding the very facts that Bardwell now insists are

                                      27   undisputed.

                                      28   2
                                            Regarding these background facts, Plaintiff incorporates the background facts stated in
                                           Pratte’s Motion for Summary Judgment as if fully stated herein.

                                                                                      3
                                            Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 4 of 16



                                       1          A.     The Meeting in North Las Vegas

                                       2          Bardwell’s account of the meeting at the North Las Vegas airport is largely

                                       3   accurate. But in a stretch that is indicative of the issues present throughout Bardwell’s

                                       4   MSJ, Bardwell asserts that “Pratte told the Five-Guys he was going to pay all gift taxes

                                       5   associated with the transfers.” (Dkt. #57 at 5:5-8 (citing Ex. 1, 256:2-21).) The cited

                                       6   testimony from Mr. Pratte never refers to what Mr. Pratte “told” the attendees at that

                                       7   meeting, let alone suggests that Mr. Pratte told the attendees that he would be paying “gift

                                       8   taxes.” Instead, in the cited testimony, Mr. Pratte explained that he paid the gift taxes so

                                       9   that the Five Guys would not have to pay taxes on the assets transferred to them. He does

                                      10   not mention whether he explained the tax mechanism he would use to make those

                                      11   payments.
                                                  In Bardwell’s own testimony, he stated that Mr. Pratte told the Five Guys he
7150 East Camelback Road, Suite 285




                                      12
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   would pay taxes on the assets but notably omits the word “gift”: “And I said it’s like
           (480) 421-1001




                                      14   winning the lottery. And [Mr. Pratte] says, no, it’s better than winning the lottery ‘cause

                                      15   I’m paying the taxes on it.” (PCSOF at ¶ 36 (J. Bardwell Dep. at 56:17-57:3).) Mr. Pratte

                                      16   repeatedly testified that he had no concept of whether he needed to file a gift tax return.

                                      17   Instead, when asked about what he told his accountant regarding the gift tax, Mr. Pratte

                                      18   testified: “I don’t think I told him to prepare anything. I just told him what I was going to

                                      19   do. That was his job, to figure out how to get it done.” (PCSOF at ¶¶ 9-10, 37 (R. Pratte

                                      20   Dep. (8/10/20) at 22:9-16; see also id. at 32:2-33:24, 35:5-11).)

                                      21          B.     Mr. Pratte’s Memory

                                      22          Bardwell’s MSJ reads as if this case is simply Bardwell’s word versus Mr. Pratte’s

                                      23   word. It is not. Mr. Pratte adequately defined the terms of the contract. Bardwell denies

                                      24   the contract exists. But six witnesses, including several who heard the terms directly from

                                      25   Bardwell, support Mr. Pratte’s description of the contract. (See Dkt. #55 at 4:11-6:9;

                                      26   PSOF at ¶¶ 21-33.) Bardwell even concedes that he made statements that comport with

                                      27   Mr. Pratte’s allegations of a contract: “You know, it’s -- could I have said, hey, I’m so

                                      28   thankful and I’ll do whatever this man needs, probably.” (PSOF at ¶ 31.) Bardwell


                                                                                      4
                                            Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 5 of 16



                                       1   conceded, “And my role in the company, in Stellar Development, was to -- and the other

                                       2   entities was to take care of Ron [Pratte].” (PSOF at ¶ 32.) Bardwell agrees that he worked

                                       3   as many as 3,000 hours in a year and sometimes more than 80 hours in a single week for

                                       4   free. (PSOF at ¶ 36.) That he concedes he did so to “the detriment of his health and

                                       5   family life” all for free. (PSOF at ¶ 34.) During that time, Bardwell consistently asked for

                                       6   Mr. Pratte’s approval for time off and vacations. (PSOF at ¶¶ 40-45.)

                                       7          Left with no explanation and no defense, Bardwell hopes that if he disparages Mr.

                                       8   Pratte’s memory, it will distract from Bardwell’s utter lack of any evidence supporting

                                       9   his defenses. Proving the deficiencies in his defense, Bardwell extensively cites Shisler’s

                                      10   testimony regarding Form 709. But as demonstrated in the next section, Shisler did not

                                      11   testify that the contract did not exist—he testified that he was not aware of any
                                           contingencies. Shisler’s lack of knowledge does not bolster Bardwell’s claims. Shisler
7150 East Camelback Road, Suite 285




                                      12
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   simply does not know. But the fact that Bardwell places so much emphasis on the
           (480) 421-1001




                                      14   testimony of someone who has no idea whether Bardwell made an agreement at all is

                                      15   telling. It shows that Bardwell stands alone. Not even his then-wife can support his theory

                                      16   of the case.

                                      17          C.      Shisler’s Testimony

                                      18          Contrary to the citations in Bardwell’s MSJ, Shisler absolutely did not

                                      19   “reconfirm[] that Pratte was clear that the monies and properties were intended to be gifts

                                      20   with no contingencies.” (Bardwell MSJ at 8:20-9:5; Bardwell SOF at ¶ 37.) In the

                                      21   testimony cited as support, Shisler was asked, “To your knowledge, without any

                                      22   contingencies on them?” He answered “Correct.” The testimony does not reflect Mr.

                                      23   Pratte’s intention. It reflects Mr. Shisler’s own knowledge. Similarly, Bardwell’s

                                      24   Statement of Facts states that Shisler testified, “Pratte intended the gifts to be

                                      25   unconditional to each of the Five-Guys.” (Bardwell SOF at ¶ 38.) In support of that

                                      26   assertion, Bardwell cites testimony where Shisler was asked: ·

                                      27          Q.· ·But it was not included, as I understand your testimony, because it
                                                  was clear to you, based upon Mr. Pratte’s intentions, that these were to
                                      28
                                                  be outright unconditional gifts to the five individuals, correct?


                                                                                     5
                                             Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 6 of 16


                                                  A. Yes.
                                       1
                                       2   But Bardwell hopes this Court will ignore the context—immediately before that

                                       3   exchange, Shisler testified: “I was not aware of any contingencies, so . . . yes, they could

                                       4   have been acknowledged on the 709.” (PCSOF at ¶ 38 (W. Shisler Dep. at 127:15-21).)

                                       5   Accordingly, Shisler cannot, in any way, testify whether Mr. Pratte intended for his gift

                                       6   to Bardwell to include any contingencies because Shisler simply was not aware of any

                                       7   contingencies. He never testified that no contingency existed—let alone what Mr. Pratte

                                       8   believed or intended.

                                       9   II.    ARGUMENT

                                      10          A.     Legal Standard

                                      11          Bardwell largely states the correct legal standard for summary judgment. But
                                           notably he argues: “A party seeking summary judgment must meet their initial burden of
7150 East Camelback Road, Suite 285




                                      12
                                           demonstrating the absence of material facts precluding summary judgment, after which
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13
           (480) 421-1001




                                      14   the burden shifts to the non-moving party to establish the existence of a genuine and

                                      15   material factual dispute.” (Dkt. #57 at 9:18-22.) Bardwell has absolutely failed to meet

                                      16   his “initial burden of demonstrating the absence of material facts precluding summary

                                      17   judgment” in his favor.

                                      18          B.     Mr. Pratte’s Payment of the Gift Tax is an Appropriate Component of
                                                         Damages.
                                      19
                                      20          Mr. Pratte’s claim for damages based on his payment of the gift tax is not

                                      21   complicated. It is undisputed that Bardwell was well aware that Mr. Pratte was paying the

                                      22   taxes on the windfall that he provided to Bardwell. Bardwell testified, “And I said it’s

                                      23   like winning the lottery. And he says, no, it’s better than winning the lottery ‘cause I’m

                                      24   paying the taxes on it.” (PCSOF at ¶ 36 (J. Bardwell Dep. at 56:17-57:3).) So from the

                                      25   outset, Bardwell knew that payment of the taxes were part and parcel to the agreement.

                                      26          “The well-established rule in Arizona is that the damages for breach of contract

                                      27   are those which arise naturally from the breach itself or which may reasonably be

                                      28   supposed to have been within the contemplation of the parties at the time they entered



                                                                                     6
                                            Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 7 of 16



                                       1   into the contract.” S. Arizona Sch. For Boys, Inc. v. Chery, 119 Ariz. 277, 280, 580 P.2d

                                       2   738, 741 (App. 1978). Put another way, “[c]ompensation for additional consequential

                                       3   injury may be recovered if at the time the contract was made the employee had reason to

                                       4   foresee that such injury would result from his breach.” Id. at 280, 580 P.2d at 741; see

                                       5   also RAJI (Civil) CI 18 (5th ed.) (“Generally, consequential damages are those that may

                                       6   reasonably be within the contemplation of the parties at the time the contract was made”).

                                       7          Based on the testimony of Bardwell, Mr. Pratte, and numerous other witnesses,

                                       8   Mr. Pratte’s payment of taxes on the assets provided to Bardwell was always part of the

                                       9   agreement contemplated by both parties. Indeed, Shisler (a witness treated as the ultimate

                                      10   authority on all things taxes throughout Bardwell’s MSJ) testified, “I’m positive that I

                                      11   told Mr. Pratte that he would owe less tax if he could pay Mr. Bardwell’s, and Mr.
                                           Carriere’s too, actually, amounts as payroll. That would shift the tax liability to the
7150 East Camelback Road, Suite 285




                                      12
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   individuals from Mr. Pratte.” (PCSOF at ¶ 36 (W. Shisler Dep. at 104:4-14 (emphasis
           (480) 421-1001




                                      14   added)).) Shisler also acknowledged that one can make gifts with contingencies attached

                                      15   and that “[c]ontingent gifts would still be reported on a Form 709[.]” (PCSOF at ¶ 37 (W.

                                      16   Shisler Dep. at 110:16-111:2).) Furthermore, Mr. Pratte presented an expert on taxation

                                      17   who found the 709 Form to be an appropriate mechanism for capturing the taxes due

                                      18   under the wealth transfer from Mr. Pratte to Bardwell. (Id. (Expert Report of Tim

                                      19   Tarter).)

                                      20          Bardwell, however, argues that under Mr. Pratte’s theory of the case, the taxes Mr.

                                      21   Pratte paid—and which Bardwell specifically acknowledged were part of the deal—was

                                      22   somehow “neither payment of Bardwell’s taxes nor payment of taxes on Bardwell’s

                                      23   behalf” and “did not relieve Bardwell of any tax liability” and that Mr. “Pratte had no

                                      24   obligation to pay gift tax.” (Dkt. #57 at 10:17-25.) This argument defies reality.

                                      25          As the saying goes, there are two certainties in life: death and taxes. Here, Mr.

                                      26   Pratte provided Bardwell with cash and assets totaling more than $10 million. As

                                      27   Bardwell testified, Mr. Pratte told him, “I’m paying the taxes on it.” Regardless of

                                      28   whether there were contingencies attached to it, someone was paying taxes on that


                                                                                      7
                                            Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 8 of 16



                                       1   transfer of wealth. Bardwell can argue that the gift tax was not the correct way to pay

                                       2   those taxes but, at bottom, the gift tax form (used for wealth transfers) allowed Mr. Pratte

                                       3   to pay the taxes that Shisler testified would have otherwise fallen on Bardwell, Shisler

                                       4   testified that the Form 709 is appropriate for wealth transfers with contingencies, and Mr.

                                       5   Pratte submitted an expert report demonstrating the same.

                                       6                   1.   26 U.S.C. § 2501(a)(1) and 26 C.F.R. § 25.2511-2 do not change the
                                                                analysis.
                                       7
                                       8          Bardwell’s citation to 26 U.S.C. § 2501(a)(1) and 26 C.F.R. § 25.2511-2 has no

                                       9   bearing whatsoever on whether Mr. Pratte can claim amounts paid pursuant to Form 709

                                      10   as damages. Those sections establish nothing more than that the law considers the tax due

                                      11   from the donor, not the donee, in a gift tax scenario. But here, Mr. Pratte made the
                                           payment of taxes part of the agreement—and Bardwell testified that he understood that
7150 East Camelback Road, Suite 285




                                      12
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   Mr. Pratte was offering to pay the taxes on the deal. Bardwell claimed the asset transfer
           (480) 421-1001




                                      14   was “like winning the lottery” and Mr. Pratte stated, “no, it’s better than winning the

                                      15   lottery ‘cause I’m paying the taxes on it.” (PCSOF at ¶¶ 31, 36 (J. Bardwell Dep. at

                                      16   56:17-57:3).)

                                      17          So whether the Internal Revenue Service considers the tax due from the donor or

                                      18   donee is immaterial to the issues at hand. Instead, the issue is whether Bardwell accepted

                                      19   Mr. Pratte’s deal—which indisputably included the tax payment. Had Bardwell not

                                      20   accepted the deal, no tax would have been due at all because the transfer would not have

                                      21   taken place at all. Accordingly, Bardwell’s academic discussion on whom the I.R.S.

                                      22   assesses taxes ignores the fundamental issue: Mr. Pratte did not have to provide Bardwell

                                      23   with any of the assets transferred to him, let alone pay taxes on it; Mr. Pratte did so in

                                      24   exchange for Bardwell’s promise to work for him—a fact the Motion assumes without

                                      25   conceding. And Bardwell was well aware that the taxes were being paid. The taxes are a

                                      26   proper component of the damages.

                                      27
                                      28


                                                                                     8
                                            Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 9 of 16


                                                         2.     Shisler testified clearly that Bardwell received a benefit through the
                                       1                        payment of taxes.
                                       2          In an odd twist, Bardwell argues that the gift tax did not benefit Bardwell at all
                                       3   because he would have had to pay income tax on the asset transfer, rendering the
                                       4   payment of the gift tax moot. Fundamentally, no one thinks of their net salary as their
                                       5   actual salary—when asked for our income, we all answer with our gross income. The
                                       6   money paid as taxes is still a benefit and considered income. In arguing that he did not
                                       7   receive a benefit, Bardwell either ignores or does not figure out that the income taxes he
                                       8   would have paid would be subtracted from the assets transferred to him—in other words,
                                       9   he would have ended up with only half of the assets that he received because he would
                                      10   have paid the other half as taxes. Because Mr. Pratte paid the taxes on the wealth transfer,
                                      11   Bardwell got to keep far more money than he would have netted had Mr. Pratte treated
7150 East Camelback Road, Suite 285




                                      12   the payment as income.
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13          Accordingly, Bardwell again denies the very benefit of the bargain he agreed to.
           (480) 421-1001




                                      14   Bardwell claimed the asset transfer was “like winning the lottery” and Mr. Pratte stated,
                                      15   “no, it’s better than winning the lottery ‘cause I’m paying the taxes on it.” (PCSOF at ¶¶
                                      16   31, 36 (J. Bardwell Dep. at 56:17-57:3).) Even at his deposition years later, Bardwell did
                                      17   not claim that the payment of taxes did not benefit him. Instead, Bardwell clearly realizes
                                      18   Mr. Pratte’s payment of the taxes allowed Bardwell to keep more of the money than he
                                      19   otherwise would have netted. Indeed, Shisler testified, “I’m positive that I told Mr. Pratte
                                      20   that he would owe less tax if he could pay Mr. Bardwell’s, and Mr. Carriere’s too,
                                      21   actually, amounts as payroll. That would shift the tax liability to the individuals from
                                      22   Mr. Pratte.” (PCSOF at ¶¶ 36 (W. Shisler Dep. at 104:4-14 (emphasis added)).)
                                      23          In other words, Mr. Pratte bestowed a sizeable benefit on Bardwell.
                                      24                 3.     Whether the Gift Tax was due is irrelevant.
                                      25          Bardwell argues that under 26 U.S.C. § 2512, the gift tax was not yet due when
                                      26   Mr. Pratte paid it. Again, Bardwell ignores that the two certainties in life are death and
                                      27   taxes. Bardwell is really arguing that Mr. Pratte should have waited to see whether
                                      28   Bardwell breached his agreement before paying the gift tax. Mr. Pratte paid the tax


                                                                                     9
                                            Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 10 of 16



                                       1   trusting Bardwell to uphold his word. Bardwell did not. But regardless, the I.R.S. was not

                                       2   going to wait to receive the taxes on the wealth transfer from Mr. Pratte to Bardwell until

                                       3   it was determined that Bardwell would not breach. Bardwell received over $10 million in

                                       4   cash and assets. He worked for Mr. Pratte for no further compensation for 12 years before

                                       5   abandoning his bargain. The I.R.S. was not going to wait 12 years for payment. And Mr.

                                       6   Pratte promised to pay the taxes on the wealth transfer. The result was the payment of a

                                       7   gift tax with the contingencies the parties agreed to.

                                       8          B.       Mr. Pratte can Prove his Contract and it is Enforceable.

                                       9          Mr. Pratte explained the contract in straightforward terms:

                                      10               Q. And what was it -- what was your understanding with respect to
                                                       the $2 million you gave Jeff Bardwell?
                                      11
                                                       A. It was a verbal contract that Jeff Bardwell would work for me until
7150 East Camelback Road, Suite 285




                                      12
                                                       I died.
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13
           (480) 421-1001




                                           (PSOF at ¶ 14.) In addition to the $2 million, Bardwell received millions of dollars in real
                                      14
                                           estate investments. Upon receipt, Bardwell immediately began work for Mr. Pratte and
                                      15
                                           did so for more than 12 years without further payment, asking for permission for time off
                                      16
                                           and vacation time, spending upwards of 80 hours a week and 3,000 a year working for
                                      17
                                           Mr. Pratte. (PSOF at ¶¶ 35-36.) He then quit during Mr. Pratte’s life, causing damages.
                                      18
                                                  Half a dozen witnesses—including Bardwell’s friends and neighbors—have
                                      19
                                           testified to the existence of a contract between the two. Bardwell’s friend Larry Yonker
                                      20
                                           testified, “From Mr. Bardwell’s account, [the verbal contract] was until – work for Ron
                                      21
                                           until he died. . . . [f]or money up front.” (PSOF at ¶ 26.) Bardwell’s friend and neighbor
                                      22
                                           Jeff Abendschein testified that Bardwell tired of working for Mr. Pratte but stayed on
                                      23
                                           “[b]ecause he had a contract with him. He was supposed to work for him until Ron
                                      24
                                           passed and that was their verbal agreement.” (PSOF at ¶ 27.) When Bardwell showed
                                      25
                                           Abendschein the $2 million check Bardwell had received from Mr. Pratte, Bardwell
                                      26
                                           described it as “[l]ike a sign-on bonus to come work for [Mr. Pratte].” (PSOF at ¶ 28.)
                                      27
                                                  Bardwell even concedes that he talked to the Five Guys about it:
                                      28


                                                                                      10
                                            Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 11 of 16


                                                     You know, could I have told him, hey, Ron made a life changing gift
                                       1             to me and I’m going to work for that man for the rest of my life?
                                       2             Could I have said that? You know, we were in opening companies.
                                                     Okay. And my role in the company, in Stellar Development, was to --
                                       3             and the other entities was to take care of Ron.
                                       4   (PSOF at ¶ 32.) He even testified that as part of the venture that stemmed from the assets
                                       5   he received, it was his job to take care of Mr. Pratte’s needs: “Ron was very -- he was
                                       6   very demanding upon everybody. And we all agreed that if he needed something, that I
                                       7   would help him.” (PSOF at ¶ 33.) Mr. Pratte can prove the terms of the contract.
                                       8          And the contract is enforceable. Bardwell cites the statute of frauds in an attempt
                                       9   to undermine his agreement, but “‘[i]f an oral agreement can possibly be performed
                                      10   within one year, the statute of frauds does not apply.’” Diaz-Amador v. Wells Fargo
                                      11   Home Mortgages, 856 F. Supp. 2d 1074, 1080 (D. Ariz. 2012) (quoting Healey v.
7150 East Camelback Road, Suite 285




                                      12   Coury, 162 Ariz. 349, 353, 783 P.2d 795, 799 (App. 1989)); see also W. Chance No. 2,
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   Inc. v. KFC Corp., 957 F.2d 1538, 1541 (9th Cir. 1992) (“The mere possibility that
           (480) 421-1001




                                      14   performance can be completed within one year—even if not contemplated by the
                                      15   parties—is usually sufficient to remove the agreement from the statute of frauds”). “The
                                      16   fact that performance is completed in more than a year is immaterial.” W. Chance No. 2,
                                      17   957 F.2d at 1541.
                                      18          Indeed, Arizona law has long recognized that contract like the one between Mr.
                                      19   Pratte and Bardwell are not covered by the statute of frauds. In 1934, the Arizona
                                      20   Supreme Court rejected this exact argument, holding that this situation “would not bring
                                      21   [the contract] within the statute, because it was to continue until the death of Martin Gold,
                                      22   and this was an event that could or might happen within a year.” Gold v. Killeen, 44 Ariz.
                                      23   29, 37, 33 P.2d 595, 598 (1934). In 1949, the Arizona Supreme Court held, “The alleged
                                      24   oral contract . . . does not fall within subsection 5 of the above section for the reason that
                                      25   death of the promisor might have occurred within one year from the date of making of the
                                      26   oral contract. The possibility of performance within one year is sufficient to take such an
                                      27   oral agreement out of the operation of the statute of frauds.” Waugh v. Lennard, 69 Ariz.
                                      28   214, 226, 211 P.2d 806, 813–14 (1949).


                                                                                     11
                                               Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 12 of 16



                                       1           Just as in those cases, Mr. Pratte’s death “might have occurred within one year

                                       2   from the date of making of the oral contract.” Accordingly, “[t]he possibility of

                                       3   performance within one year is sufficient to take such an oral agreement out of the

                                       4   operation of the statute of frauds.” Bardwell’s citation to Mr. Pratte’s testimony that

                                       5   Bardwell’s agreement might end by the time Bardwell is 65 changes nothing. Mr. Pratte’s

                                       6   testimony on this point is vague and is not tied to the terms of the contract at all. Mr.

                                       7   Pratte could be talking about his own death. He could be talking about a decision he

                                       8   would make at a later date to terminate the contract and release Bardwell’s obligations.

                                       9           But that testimony absolutely does not say the contract had a termination date

                                      10   outside of one year. Mr. Pratte merely says, “I would think he would be done by 65. . . . I

                                      11   just think that’s – he would have fulfilled his obligation by then.” He does not say that the
                                           contract had a termination date other than the one that everyone but Bardwell agrees
7150 East Camelback Road, Suite 285




                                      12
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   with—Mr. Pratte’s death. In fact, immediately after the cited passage, Mr. Pratte testified,
           (480) 421-1001




                                      14   “Well, if [Bardwell] was 65[,] I would be what, 90-something. I don’t think I’m going to

                                      15   be riding any sand dunes at 90 years old.” (R. Pratte Dep. (2/27/20) at 207:24-208:4.) 3

                                      16           Indeed, that is precisely how Bardwell’s counsel understood Mr. Pratte’s answer.

                                      17   Counsel followed this answer by summarizing and asking for Mr. Pratte agreement with

                                      18   the characterization:

                                      19              Q. Well, whatever you were doing though, based on the allegations
                                                      you’ve made in the complaint, you could have required him to work
                                      20
                                                      beyond that. But what you’re saying is: No, I would think there would
                                      21              come a time when I would say: You fulfilled your lifelong obligation
                                                      to me, even though you were still alive; is that fair?
                                      22
                                                      A. Yeah, that’s fair.
                                      23
                                      24   (R. Pratte Dep. (2/27/20) at 208:5-12.) 4

                                      25
                                      26
                                           3
                                             For some reason, Bardwell did not include these facts as part of his Statement of Facts.
                                      27   Accordingly, this controverting statement of fact is not included in Plaintiff’s
                                           submission. But Plaintiff has included the context pages cited here as part of Exhibit 1 to
                                      28   Plaintiff’s Controverting Statement of Facts.
                                           4
                                             The statement in Footnote 3 applies to this excerpt as well.

                                                                                       12
                                            Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 13 of 16



                                       1          C.     Mr. Pratte Has Properly Supported his Claim for Promissory Estoppel.

                                       2          In seeking summary judgment on Mr. Pratte’s promissory estoppel claim,

                                       3   Bardwell attacks only one element of the claim: “Pratte cannot prove the reliance was to

                                       4   his detriment as his plan was to gift properties to both reduce his taxable estate and to

                                       5   perpetuate the Pratte name.” (Dkt. #57 at 15:27-16:6.) Tellingly, Bardwell cites no

                                       6   evidence in the record for this sweeping proclamation. Indeed, it does not even make

                                       7   sense—providing Bardwell with assets would not “perpetuate the Pratte name”

                                       8   (obviously Bardwell and Pratte have different names) and, as argued throughout

                                       9   Bardwell’s MSJ, considering Mr. Pratte paid the taxes on the wealth exchange, the wealth

                                      10   transfer to Bardwell did nothing to “reduce his taxable estate.”

                                      11          Simply put, Mr. Pratte did not have to provide Bardwell with anything. And the
                                           entire basis of the Complaint is that Mr. Pratte expected something from Bardwell in
7150 East Camelback Road, Suite 285




                                      12
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   return for the wealth transfer—namely Bardwell’s agreement to work for Mr. Pratte until
           (480) 421-1001




                                      14   Mr. Pratte’s death. Bardwell complied with the agreement for twelve years and then

                                      15   quit—keeping the wealth that was transferred but not fulfilling his promise. So Mr. Pratte

                                      16   relied on Bardwell’s promise to the detriment of over $10 million.

                                      17          Bardwell further argues that Mr. Pratte “must also prove a second promise” to

                                      18   prevail. (Dkt. #57 at 15:2-6.) While not explained in Bardwell’s MSJ, this argument relies

                                      19   on the notion (disproven above) that the contract between Mr. Pratte and Bardwell is

                                      20   subject to the statute of frauds. It is not. See Mullins v. S. Pac. Transp. Co., 174 Ariz.

                                      21   540, 542, 851 P.2d 839, 841 (App. 1992) (cited in Bardwell’s MSJ at 15:2-6)

                                      22   (“Promissory estoppel is applied to defeat the Statute of Frauds only where there is a

                                      23   second promise not to rely on the statute”).

                                      24          But the contract here is not subject to the statute of frauds. “‘[I]f an oral agreement

                                      25   can possibly be performed within one year, the statute of frauds does not apply.’” Diaz-

                                      26   Amador, 856 F. Supp. 2d at 1080 (quoting Healey, 162 Ariz. at 353, 783 P.2d at 799).

                                      27   Mr. Pratte could have died within one year so the statute of frauds does not apply. And

                                      28


                                                                                     13
                                            Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 14 of 16



                                       1   Mr. Pratte’s vague testimony regarding what might have happened when Bardwell turned

                                       2   65 does not change the analysis.

                                       3          D.     Mr. Pratte Has Properly Supported his Claim for Unjust Enrichment.

                                       4          Bardwell’s argument that Mr. Pratte cannot prove unjust enrichment is rote and at

                                       5   odds with the evidence. Everyone agrees that Bardwell received cash and assets totaling

                                       6   over $10 million. Mr. Pratte has alleged that he only made the wealth transfer to Bardwell

                                       7   because Bardwell promised to work for Mr. Pratte until Mr. Pratte’s death. Six witnesses

                                       8   back up Mr. Pratte’s assessment of the deal. No one backs up Bardwell’s assessment.

                                       9   And it is undisputed that Bardwell operated under the terms of his promise for 12 years.

                                      10          It is equally undisputed that Bardwell quit during Mr. Pratte’s life. Accordingly,

                                      11   Bardwell has been unjustly enriched by keeping the entirety of the more than $10 million
                                           in cash and assets that he did not earn. If Bardwell is correct that there is no binding
7150 East Camelback Road, Suite 285




                                      12
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   contract, then Mr. Pratte is left with no legal remedy—in other words, the very scenario
           (480) 421-1001




                                      14   in which unjust enrichment must apply. Bardwell broke his promise and has been

                                      15   unjustly enriched. He cannot simply keep his windfall after breaking his promise.

                                      16          E.     The Gift Tax Does Not Estop Mr. Pratte from Enforcing the Terms of
                                                         the Contract.
                                      17
                                      18          Shisler, Mr. Pratte’s accountant and a witness given credence throughout

                                      19   Bardwell’s MSJ, testified that “[c]ontingent gifts would still be reported on a Form

                                      20   709[.]” (PCSOF at ¶¶ 10, 37 (W. Shisler Dep. at 110:16-111:2).) While the Form 709

                                      21   here states no contingencies, Shisler testified: “I was not aware of any contingencies, so .

                                      22   . . yes, they could have been acknowledged on the 709.” (PCSOF at ¶ 38 (W. Shisler

                                      23   Dep. at 127:15-21).) In addition, Mr. Pratte presented an expert on taxation who found

                                      24   the 709 Form to be an appropriate mechanism for capturing the taxes due under the

                                      25   wealth transfer from Mr. Pratte to Bardwell. (PCSOF at ¶ 38 (Expert Report of Tim

                                      26   Tarter).) Accordingly, the Form 709 does not foreclose Mr. Pratte’s position that his

                                      27   wealth transfer to Bardwell had contingencies attached to it via their agreement.

                                      28


                                                                                     14
                                            Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 15 of 16



                                       1          As such, this case is not analogous to the situations in Bardwell’s cited New York

                                       2   state cases where a party submitted a position that directly contradicted an income tax.

                                       3   Indeed, Bardwell does not present any case law that involves a gift tax at all. But it is not

                                       4   as if that case law does not exist. In 2002, the Supreme Court of Wyoming decided a case

                                       5   that rested on some similar facts. There, the owner of a business “made a gift of a

                                       6   thousand shares of stock to [the employee] in March of 1995.” Ewing v. Hladky Const.,

                                       7   Inc., 2002 WY 95, ¶ 7, 48 P.3d 1086, 1087 (Wyo. 2002). The owner filed a “gift tax

                                       8   return [that] reflected the transfer of a thousand shares of stock from himself to [the

                                       9   employee].” Id.

                                      10             The gift’s purpose was intended to provide [the employee] a portion
                                                     of stock that he would not later have to purchase if something
                                      11             happened to [the owner]. [The owner] admitted that [the employee]
                                                     had earned the stock but claimed that the gift carried a condition.
7150 East Camelback Road, Suite 285




                                      12
                                                     [The owner] testified that it was always understood between himself
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13             and [the employee] that the continued ownership of [the employee’s]
                                                     shares in the company was conditioned on [his] continued
           (480) 421-1001




                                      14             employment.
                                      15   Id.
                                      16          After a bench trial, “[t]he trial court found that the gift was delivered with the
                                      17   intent that it should be returned to [the owner] in the event that [the employee’s]
                                      18   employment terminated.” Id. at ¶ 9, 48 P.3d at 1088. The Wyoming Supreme Court
                                      19   determined, “The trial court’s finding that [the owner] had gifted the stock and placed
                                      20   conditions when it was made is supported by this record, and, under our proper standard
                                      21   of review, we must affirm the trial court’s decision.” Id. at ¶ 14, 48 P.3d at 1089–90. In
                                      22   doing so, the Wyoming Supreme Court did not make any determination that somehow the
                                      23   title of Form 709—the gift tax form—meant that the owner was estopped from proving
                                      24   an agreement between the parties. The same should hold here.
                                      25                                        CONCLUSION
                                      26          Bardwell’s Motion for Summary Judgment attempts to take short cuts that allow
                                      27   Bardwell to avoid the aspects of this case that he simply cannot explain—namely the fact
                                      28   that after the wealth transfer, he continued to work full time for Mr. Pratte without pay


                                                                                     15
                                            Case 2:19-cv-00239-GMS Document 61 Filed 02/16/21 Page 16 of 16



                                       1   (as if he was under contract). And the fact that six witnesses (including his own friends)

                                       2   support Mr. Pratte’s understanding of the contract between the two men. And the fact that

                                       3   the only person supporting Bardwell’s claim that his work was gratuitous is Bardwell

                                       4   himself—not even his then-wife could lend support to Bardwell’s position.

                                       5         Instead, Bardwell misstates Shisler’s testimony and faults Mr. Pratte’s memory.

                                       6   Not only does Bardwell lack a basis for summary judgment, his unsupported Motion

                                       7   further demonstrates that summary judgment should be entered against him.

                                       8
                                       9
                                      10         DATED this 16th day of February, 2021.
                                      11
                                                                               KERCSMAR & FELTUS PLLC
7150 East Camelback Road, Suite 285




                                      12
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13
                                                                          By: s/ Greg Collins
           (480) 421-1001




                                      14                                      Gregory B. Collins
                                                                              7150 East Camelback Road, Suite 285
                                      15                                      Scottsdale, Arizona 85251
                                      16                                      Attorneys for Plaintiff

                                      17
                                      18
                                      19
                                      20
                                      21
                                      22
                                      23
                                      24
                                      25
                                      26
                                      27
                                      28


                                                                                    16
